Case 1-19-41630-cec   Doc 9-2   Filed 04/15/19   Entered 04/15/19 08:42:17




                         EXHIBIT A
       Case 1-19-41630-cec     Doc 9-2     Filed 04/15/19     Entered 04/15/19 08:42:17




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                               OUEENS COUNTY CLERK
                           Case 1-19-41630-cec                    Doc 9-2      Filed 04/15/19            Entered 04/15/19 08:42:17

i6l] IAOIl   JUDGlrENT OT FORECLOSIJRE AND STIE




                                                                                           At En                       3          of
                             SEOUENCENO                                                   drc Suptcrnc Court of thc Statc of Ncw
                                                                                          York, hcld in and for thc County of Quc€ns
                                                                                          at thc Courthouse thcreof, Supremc Coun
                                                                                           Building 88-l I Sutphin    Jamaica-
                                                                                          Ncw        ork on thc J&en' day of
                                                                                                     o                  2017



                               PRESENT:
                                                              lpuxrofl*tDlftct
                                                  Honorrblc
                                                                          Juslicc.                        Ftl ),,,i.t   t;   t,i   B(,r   )l )tjl)
                               SUPREME COURT THE STATE OF NEW YORK:                                              Dic i 3 z0t7
                               COUNTY OF QUEENS
                                                                                     x                        ,;t''i,'' t t Cl-ERK
                               WILMTNGTON SAVINGS F(ND SOCIETY, FSB                      tndcxNo:   15321/l I QUFENS       couNry
                               DBA CHRISTI,ANA TRUST AS TRUSTEE FOR
                               HLSS MORTCAGE MASTER TRUST FOR THE
                               BENEFIT OF THE HOLDERS OF THE SERIES
                               2OI4I CERTIFICATES ISSUED BY HLSS                         JUDGMENT OT FORE CI,OSI JRE AND SAi-E
                               MORTGAGE MASTER TRUST,

                                                                   Phintiff
                                                                                         Mofigagcd Pramiscsi
                                                      -tg8rnst"                          109-57 l95th Strcet
                                                                                         Saint Albans, Ncw York I       l4l2
                                SIMONE JL]NIOUS A/I(A SIMONE JUNIOS
                                OSCAR FULLER. JR.
                                CITY OF NEW YORK NYC DEPARTMENT OF
                               FINANCE-PARKINC VIOLATIONS BUREAU
                               PAYMENT AND ADJUDICATION CENTER OF
                               QUEENS




                                           ON thc Summons, Complaint and Notice of           PcndeyglY filcd in this adion in the

                                Office of thc County Clcrk of the County of Queens on July 12, 201l, th€ re-filing of                      r6-N;;;
                                of Pcndency on Junc I             14 and October          6 , sDd all procredings had thereon; and uPon


                                readiug and filing the Notic e of     Mot}laEd       o          , 20 I 6, the affirmation of rcgularity               of
                                                                                         "rowr$
                                Tommaso           **Ka        Dccember 8. 2015, with cxhibits annexe4 showing that all                         of    the
                                  Case 1-19-41630-cec                    Doc 9-2      Filed 04/15/19              Entered 04/15/19 08:42:17

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                                                                                                                                      or
                                  Dcfendants hcrcin have been duly served
                                                                                    wi6in this Statc with thc Summons in this action'

                                                                      rcsp€ctivc sttomeys; and on thE proof
                                                                                                                of scrvice upon and
                                   havc voluntarily aPpcared by their
                                                                                                          and staiing that more than
                                   appcarance by thc Dctbndant(s)
                                                                  herein hcrctofore filed in this action;

                                                                                                           u'ef,s so servcdi and that
                                               requircd number of days have clapsed since said D"fcndants
                                   the legally

                                                                      an Answsr to said C           nor has thcir time to do so bcen
                                   none of thc Dcfcndants has servcd
                                                                                                                                        t1, 2016
                                   cxtcndcd and upon the aftrrmation
                                                                     of serviccs rtndcred of Dcana Chcli datcd
                                                                                                         ...-.
                                                                                     S"tV t1,ry6
                                    and
                                                                                                                         Hclcn Eichler, Esq.'   as
                                                 ON the Or<ler   ot KcrcrElrcs ua""eE
                                                                                                                     the Plaindff or
                                                                             computc thc smount due' and to exarnine
                                    Referce in this action to ssccrtain and

                                    its ag€nt undcr oalh 8s to the altcgations
                                                                               co ained in the Complaint' and to examinc and report
                                                                                                   or more Parccls; and on rcading and
                                                                                                                                       filing
                                                                                                   t?o
                                                                                                         uo,.o    *,o*,,' 6{J^r**"*n
                                                                5.62 was due thc Plaintiff, as of Novembcr        ,2015, plus a Pcr diem interest
                                     thc sum of $550
                                                                                                                          should bc
                                     for every day thercaftcr, on thc datc
                                                                           of said report and that thc mortgagcd premises
                                                                                                                         ;   and uPon reading urd
                                                                      dclibcration having becn
                                     sold in one Parccl, and afur duc

                                      filing the dccision of the Court datcd
                                                                                                    w8y, P.C., attomeys for lhc Plaintiff, it
                                                                                                                                              is
                                                      NOW, on motion of McCabe, Weisberg
                                                                                         &
                                                                                                                      Fi{r,/L
                                                                                         gran             it is
                                                      ORDERED that said motion hereby is


                                                      "Y
                                      Eict er, Esq., dated Octo
                                                                  ADJUDGED rnd DECREED, that thc report
                                                                                                        of thc Rcfcrce' Helcn


                                                                         7,20 16, bc, and thc samc is hercby io all respects
                                                                                                                             ratified and


                                       confirmcd; and it is fi.dher




                                                                                              d-
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            '




                                          ORDERED, ADJUDGED end DECREED, that the mongaged premiscs described in

                               the Complaint in this action, and hercinaffer described, or such part thereofas may be sufficient

                               to discharge the mongage debt under the note and mongage, the expenses of sale and the cosls             of

                               this action as provided by the Real Property Actions and Proceedings law be sold, in one parcel.

                               at public auction al the Queens County Supremc Court located at 88-l        I Sutphin Boulcvard.

                               Jamaica, New York, I 1435. in Courtroom #25 at l0:00 A.M. on a Friday, by and under the

                               direction of Helen Eichler, Esq.. who is hereby appointed Referec for that purpose: in the

                               absenc€    ofthe designated Refere€, the Court willdesignatc    a substitute Rcferee   forthwithi that

                               said Referee give public noticc     ofthc time and place ofsuch sale in accordance with law,

                               practice   oflhi s Court   and R.P.A.P.L. sec. 231 in
                                                                          2?s         Pr   ai*-ta.l   RJ
                              l..)                            s                  t\            ,,           and that the PIainrilI or

                               any other parties to lhis action may become the purchascr or purchasers at thc said salc; that in

                               case the   Plaintiffshall become thc purchaser   at the said sale. thoy shall not be required to make

                               any deposit thercon; that said Rcferec execute to the purchaser or purchasers on such sale a deed

                               ofthe premises sold; that in the event    a party other than lhc Plaintiffbecomes the purchaser or

                               purchascrs at such sale, they shall bc required to tender a dcposit    of l0% ofthe purchasc price in

                               certified funds and thc closing of title shall be had thirty days aftcr such sale unless orherwise

                               stipulated by all panies to the salel and it is further

                                       ORDERED, that the Referee appointed herein is subject to rhe requiremcnts of Rule

                               36.2(c) ofthc ChicfJudge. and ifthe Refercc is disqualificd from recciving an appoinrment

                              pursuant to the provisions ofthat Rule, the Rcferee shall notify the appointing Justice forthwirhl

                              and it is further

                                       ORDERED, ADJUDGED cnd DECI{EED, that said Referee, upon receiving the

                               proceeds ofthe sale, shall fonhwith pay therefrom, in accordance with their priority according to
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                                 rents or watcr rates which are or
                                                                   may bccomc licns on thc
[aw, the Bxcs, sssessme s, 3cwer
                                                                           lawfully accrued
                                       inrcrsst or penaldes which may have
prcmises at thc timc of salc wirh such

                                    it is frrther
thereon to the date of Paymcnt; and
                                                                         the balance
                                          that said Referee then deposit
           ORDERED, ADJUDGED rnd DECREED'
                                          name   as Referce   in
 of said procecds of sa'lc in his/her own
                    S IGNATURE BANK                     . and shall   thcreaflsr makc thc following

                   Jarnaie.    $['"i'r;i?r, or*sc          shall bc paid bv said depository:
 paym€nts and h iYher chccKs
                                                         in the sum of$500'00
              FIRST     Thc statutory fe€s ofthc Refcrce
                                                                          shown on the bills
                                          and the advertising expcnses as
              SECOND Thc cxpcnses of sale
                                                                to be conect' duplicate copies         of
                        prcscnted and certified by said Refercc

                        whichshallbeThcRcferecshaltnotbchcldresponsibleforthepayment
                                                                                                  hold
                                                          this ap!'ointrnent' ThE Purchaser shall
                         of pcnaltics or fees pursuant to
                                                            pcnaltics or fees asscsscd'
                         the Referec harmlcss ftom any such

                                                            Plaintiff' or      Plainrifls attomey' the sum
               TI{IRD    Said Rcfcrec shall also psy ro the
                                  c                                                             to lhe
                         of$ [ -LL       V          u   bc dctermined by thc Clerk and adjudged

                                                                     sction to be taxed by the Clerk
                         Plaintifffor co$s and disburscments in this
                                                                    from the date hereot          ttlahgr
                         and insencd hereirr, with int€rest thorcon

                          rrlh rn ddiional 'll warl         lf t                        '   '   ! r '- ' '^
       /

             !L           and also the sum of $550,005.62 the said amount
                                                                          so reponcd due as

                                                                                  4' 2015 thc date
                          aforcsaid, togcthcr with intercst thcrcon from Novcmbcr

                          interestwascalculatadloinsaidrcporl,orsomuchthercofasthepurchase
                                                                                      with any
                          moncy ofthe mongaged prcmises wrll pay ofthe samc, togethcr

                          advanccs neccssarily paid by rhe Plaintiff for taxes, firc insurance'




                                                        M
                             Case 1-19-41630-cec                   Doc 9-2          Filed 04/15/19            Entered 04/15/19 08:42:17

ra,   r/z01r   JUDcrlEi{r or FoREc




                                                             principAl and intcrest to prior mongages 10 prcscrvc snd or maintain the

                                                             prcmises not previously included in any computations, upon prcscntation

                                                             ofrcceipts for said expenditulrs to thc Rcfdce, togcthar with

                                                             5    Z)4O
                                                                 -.-,--           6o"by awg     ded ro   $c Plaintiffas   reasonable legal fees

                                                             hercin, togcther with any advances as providcd for in the note and

                                                             mortgage, which Plaintiff has madc for taxcs, insurancc, principal and
                                           ,sg
                                                             intcrest and any other charges due to prior mortgagcs, or to maintain the

                                                             prerniscs pending consummation of this forcclosure sale, not previor$ly

                                                             includcd in the computation and upon presenlation of rcceipts for said

                                                             expcnditures to the Referee, all togethet with interest thereon pursuant to

                                                             the note 8nd mofigagc.

                                                 FOURTH If such Rcfcrcc intends to apply for             a furth€r allowanc€ for his/her fecs,

                                                            he/she may lcave upnn deposit such amount as            will cover such addilional

                                                            allowsncc, to await rhe further ordcr ofthis Court thereon after application

                                                            duly made upon duc notjce to those parties cntitlcd thereof

                                            That in case ths Plaintiffbc thc purchaser of said mongaged premises at said salc, or in

                                     thc cvcnt thal thc rights ofthc purchasers at said and the terms of sale under lhisjudgemcnr shall

                                     bc assigned to and be acquircd by the Plaintiff, and a valid assignmcnl thcrcoffilcd with said

                                     Referec, said Refercc shall not rcquirc the Plaintiffto pay in cash thc cntire amounl bid at said

                                     sale, but shall execute and deliver   o   the Plaintiff, or it's assignac, a dccd or dccds ofthe

                                     prcmiscs sold upon the paymcnt to said Rcfcrce ofthe amourrt spccified above in itcms marked

                                     "FIRST'and "SECOND" and the amou               s   ofthc aforcsaid taxes, ass€ssments, scwer     rents and


                                     water rates, with interest and pcnalties thereon, or, in licu ofrhe paymcnt of said last mentioned

                                     smounts, upon filing with said Referce reccipts of fie Prop€r municipal authorities showing




                                                                                           ws
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                                                                                       sfter dcducting therc&om the sforesaid
                                   payment thereof; that thc balance of &c amount bid'

                                                                                     advertising cxPcnses' hxes' assessmerrts' sewer
                                   amounts paid by thc plaintiff for Rcfcrec's fees'
                                                                                                                            the
                                                                             the Plaintiffand appliccl by said Refercc upon
                                   rents and watcr rates shall be altowei to

                                                                               item markcd "THIRD"; that       if after   so applying thc
                                   amounts due to the Plaindff as specified in
                                                                                                                       duc !o the
                                                                             a suplus over and abovc thc said amorrnts
                                   balance of the amount bid, lhete shall bc

                                                                                           upon dclivcry to Ptaintiff of said Referee's
                                   Plainfiff, thc Plaintiff shall pay lo thc said Rcfercc'
                                                                               Rcfcrcc' upon receiving said sevcral arnounts        ftoE
                                   dccd, lhe amount of such surPlus; trat said

                                                                                    tsxes' assessmcnts' scwE! rents and watcr !at€s'
                                   the Plaindff, shall forthwith pay therefrom said

                                                   ancl penalties thereon, unlcss the same havc
                                                                                                alrcady been paid' and shall then
                                   with intcrcst

                                   deposit thc balancc.

                                           The said Refercc shall ts.ke th€ Eceipr ofthc
                                                                                         Plaintiff, or thc atlornc)'s for thc Plaintiff'

                                    forthcanrountsPaidasdirectcdinitcm..THIRD''above,andfrtcitwithhiVherreportofsalc;
                                                                                                    Couny Clcrk within five days
                                    thal he/sh€ deposit thc surplus moni€s, if any, wirh the Queens
                                                                                           to the crcdit of this action' ro bc withdrawn
                                    affer thc same shall be received and bc etccrtsinable'

                                    only on an ordsr ofthis Court' signed by    a   Justce ofthis Court Thc Rcfcrcc shall makc hisihcr

                                                                                         of thc procceds ofthc asle ard
                                    report ofsuch sale undcr oath showng the disposition

                                                                                             wele made' and shall file it with
                                    accompanied by thc vouchers ofthc perons to whom Pquents

                                    the Queens Counry Clerk wilhin thirty days aftcr completing
                                                                                                thc sal€ and cxeculing the proper

                                                                                                       be insu{Iicicnl to pay the
                                    conveyancc lo thc puchase!, and ttrat if thc procceds of such sale

                                    anountrePortcdduetothePlaintiffwithinter€staDdcostsasaforcsaid,thesaidReferecshall

                                    speciry the smount of such dcficiency in his/herjg'ort of sal€i that the
                                                                                                             Plaintiff shall rccovcr
                                                                                      /.                        --.---
                                    from the Dcfcndant(s) Simone Junious      dkle Simone Junios and Oscar Fullcr, Jr' the wholc

                                    deficicncy or so much theleof as this Coufi may determinc to bcjust and equitable of the residue

                                    ofthc mortgage debt remaining unsatisfied aftcr a sate ofthc mongagcd prcmises and the




                                                                                     66
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  applicarion of fte procecds thercof, provided a motion for a defioiency judgmcnt shall be made

  as   prescribcd by section   l37l ofthc   Rcal Propeny Actions and Proceedings Law within the time

  limitcd thcrein, and the amount thereofis delermined and awarded by an ordcr of this Coun as

  provided for in said s€ction; and it is furthc!

           ORDERf,D, ADJUDGED rnd DECREED, that lhe purchascr or purchasas                    at said sale

  bc lct into posscssion on produclion or delivery of the Refcrcc's dccd or decds; and it is funhcr

           ORDERED, ADJUDGED end DECREED, that cach and all of thc Defendants in &is

  action and all p€rsons claiming undcr them, or any or cither of them, afler the filing of such

  noticc of pendcncy of this action, be and they arc hereby forever bared and foreclosed of all

  right, claim, lien, titlc, intercst, and equity ofredemption in sard morrgaged premises and each

  and cvcry part thereof; and it is further

           ORDERED, ADJUDGED rnd DECREED, thal said premises is to be sold in onc

  parcel in "as is" physical ordcr and conditio& subjccr to any statc of facts that 8n inspection     of

  the prcmises would disclose; any slatc offacts that 8n accuratc suwey oftbe prcm.ises would

  showi any covenants, rcsrictions, dcclarations, rcservations, casrments, rights of way and public

  utility agrc.mcnts ofrecord, ifany; any building and zoning ordinances ofthe municipality in

  which the mortgaged prcmiscs is locatcd and possiblc violations of same; any rights oftenants or

  persons in possession of the subject premiscs; prior, licns of record,   ifany, excepr those li€ns

  addrcssed in section 1354 ofthe Rcal Ptopeny Actions and Proceedings Law; any cquity           of

  redcmption of thc UNITED STATES OF AMERICA to redeem lhe Prcrnises within 120 days

  from the date ofsalc; and it is furthcr

           ORDERED, that a copy of this Judgment with Notic€ of Entry shatl be scrved upon the

  owncr of the equity of redcmption, any tenants named      h   this action and 8ny other Party cntitled

  to notice.




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                        SUPREME COURT THE STATE OF NEW YORK:
                        COUNTY OF QUEENS
                                                                                      x
                        WILMINGTON SAVINCS FUND SOCIETY, FSB DBA                                 lndrx No: 16321/l            I
                        CHRISTIANA TRUST AS TRUSTEE FOR HLSS
                        MORTCAGE MAS''ER TRUST FOR THE BENEFTT OT
                        THE HOLDERS OF THE SERIES 20I+I                                          COSTS OF PLAINTIFF
                        CERTIFICATES ISSUED BY HLSS MORTGAOE
                         MASTER TRUST,
                                                                Phintifr
                                                                                                               |IIHHqEISIAEO,T.ilOflCE
                                                    '!8ti[rt'
                        SIMONE JIJNtOUS A./IVA SIMONE JUNIOS
                                                                                                               AfiJ&c-'"__
                        OSCAR FULLE& JR,
                        CITY OF NEW YORK NYC DEPARTMENT OF
                                                                                                                         IEC 13           2017

                        FINANCEPARKING VIOLATIONS BUREAU
                        PAYMENT AND ADJUDICATION CENTER OF
                        QUEENS
                                                                Dcf.nd.rt!.

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